      Case 4:20-cv-01107 Document 22 Filed on 07/27/20 in TXSD Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

BETTY CHENIER, EDDIE CUMBO,                              §
THOMAS EDISON, BRIGITTE GONZALEZ,                        §
KEISHA GRIGSBY, JOSHUA JONES ET. AL.                     §
                                                         §
                                                         §
                        Plaintiffs,                      §
                                                         §
                                                         §
vs.                                                      §    CIVIL ACTION NO. 4:20-CV-01107
                                                         §
                                                         §
                                                         §
                                                         §
UNION PACIFIC RAILROAD COMPANY                           §
                                                         §
                                                         §
                        Defendant.                       §       JURY REQUESTED
                                                         §

            PLAINTIFFS’ MOTION FOR LEAVE TO AMEND THE COMPLAINT
                 TO ADD ADDITIONAL PARTIES AND FOR REMAND

        Plaintiffs, Betty Chenier, Eddie Cumbo, Thomas Edison, Brigitte Gonzalez, Keisha Grigsby,

Joshua Jones et. al. (“Plaintiffs”), hereby move this Court for leave to file an Amended Complaint, a copy

of which is attached as Exhibit 1, and to remand under 28 U.S.C § 1447 (c). The proposed amended

complaint adds two additional organizational Defendants, Pastor, Behling & Wheeler, LLC

(“PBW”) and Environmental Resources Management Southwest, Inc. (“ERM”) and three

individual Defendants, Eric Matzner (“Matzner”), Paul Stefan (“Stefan”) and Christopher Young

(“Young”). ERM and PBW are registered geoscience firms and the three individual defendants

are licensed geoscientists who work for these companies. At the time of filing, Plaintiffs had not

conducted sufficient discovery to determine if the additional defendants were proper parties.

Plaintiffs are now certain that the aforementioned organizations and individuals are proper parties.



                                                    1
     Case 4:20-cv-01107 Document 22 Filed on 07/27/20 in TXSD Page 2 of 10




However, the new Defendants are Texas residents, and joinder of these parties destroys diversity

and requires remand. This amended complaint is not filed for purposes of delay or in bad faith and

will not prejudice the Defendant Union Pacific Railroad Company. In support of this motion,

Plaintiffs respectfully show unto this Court the following:

                                        I.      BACKGROUND

        The Plaintiffs in this case have suffered and continue to suffer injury from the Defendants’

improper acts and omissions regarding the operation of a facility located in Houston, Texas (the

“Property”). Plaintiffs’ filed their Original Petition for Damages in state court on February 12,

2020 against Defendant. On February 14, 2020, Plaintiffs filed a First Amended Petition for

Damages and followed it with a Second Amended Petition for Damages on February 26, 2020.

The purpose of both amendments was to address minor changes and immediately followed the

filing of Plaintiff’s Original Petition. Further, the amended petitions were filed before the initial

Defendant, Union Pacific Railroad Company, was served with process on March 11, 2020.

        The case was initially assigned to the 152nd Judicial District Court of Harris County, Texas.

Defendant Union Pacific Railroad Company promptly filed a Notice of Removal on March 28,

2020. Plaintiffs received Notice of Filing of Notice of Removal on March 28, 2020. No discovery

has been conducted or served by any party involved since the initial filing of this case.

        At the time of filing, Plaintiffs’ counsel had not conducted enough research to substantiate

the addition of ERM and PBW as responsible parties. Plaintiffs had no desire to add in additional

parties without knowledge of their involvement. Instead, Plaintiffs planned on conducting initial

discovery of Union Pacific Railroad Company in addition to their own research to decide on what

additional parties should be added, if any. However, due to prompt removal of this case by

Defendant Union Pacific Railroad Company and their immediate filing of their motion to dismiss,



                                                   2
     Case 4:20-cv-01107 Document 22 Filed on 07/27/20 in TXSD Page 3 of 10




discovery has not been a viable option for Plaintiffs. Although discovery has not yet commenced,

Plaintiffs’ counsel has now had time to conduct their own research and file this motion in order to

add additional parties and claims.

       Plaintiffs are now aware that Union Pacific’s Property was only able to maintain the

permits necessary to continue their use, storage and disposal of hazardous chemicals with the

assistance of geoscientific work provided by the proposed Defendants. As the proposed amended

complaint explains, Union Pacific was under the regulatory authority of the Environmental

Protection Agency (“EPA”) and the Texas Commission on Environmental Quality (“TCEQ”). The

use, storage and disposal of hazardous waste requires that an organization maintain hazardous

waste permits from TCEQ. TCEQ requires geoscientific exploration to be submitted prior to

issuing or continuing a hazardous waste permit. The state of Texas requires that regulatory

geoscientific work be performed under the control of a geoscientist. Therefore, Union Pacific was

unable to perform this work themselves. Union Pacific hired ERM and PBW to perform the

necessary geoscientific work to ensure they could maintain the proper permits to remain open.

ERM and PBW’s geoscientists also submitted signed and sealed reports directly to the TCEQ. The

research and reports ERM and PBW’s geoscientists provided to Union Pacific and the TCEQ failed

to accurately investigate, analyze and report the actual levels of hazardous chemicals on the

property and the effects of them on the environment. The intentionally inaccurate work ERM,

PBW and its licensed geoscientists performed played a significant role in the concealment of the

deleterious effects of excessive levels of creosote and other toxic chemicals from Plaintiffs, the

governmental agencies and the general public.         Accordingly, Plaintiffs desire to add these

additional parties to ensure they are all held accountable for their egregious acts and omissions and

are required to provide Plaintiffs with the relief they deserve.



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      Case 4:20-cv-01107 Document 22 Filed on 07/27/20 in TXSD Page 4 of 10




        Under 28 U.S.C § 1447 (c), Plaintiffs are within their thirty (30) day timeframe with which

to file a Motion to Remand.

                                II.      ARGUMENT AND AUTHORITIES

    A. PLAINTIFFS’ MOTION IS IN GOOD FAITH AND CAUSES NO UNDUE PREJUDICE TO
       DEFENDANT

        1.       Rule 15(a)(2) of the Federal Rules of Civil Procedure provides that the Court

“should freely give leave (to amend) when justice so requires.”1 Rule 20(a)(2) also permits joinder

of proper parties if the relief asserted against them arises out of the same transaction, occurrence,

or series of transactions or occurrences.2 The Plaintiffs’ amended complaint, attached as Exhibit

A, maintains the same set of facts and claims from their initial state filing against Defendant Union

Pacific Railroad Company.

        2.       It is well established that:

        In the absence of any apparent or declared reason—such as undue delay, bad faith
        or dilatory motive on the part of the movant, repeated failure to cure deficiencies
        by amendments previously allowed, undue prejudice to the opposing party by virtue
        of allowance of the amendment, [or] futility of amendment . . . —the leave sought
        should, as the rules require, be ‘freely given.’3

Thus, the decision to grant leave is within the sound discretion of the district court.4

        3.       This case was filed on February 12, 2020 and removed on March 28, 2020. There

have been no case deadlines set and discovery has yet to begin. Given the extremely early stages

of this litigation, Defendant Union Pacific Railroad Company cannot be prejudiced by Plaintiffs

amending their pleadings for the first time since the Defendant was served with this lawsuit.




1
  Fed.R.Civ.P. 15(a)(2).
2
  Hensgens v. Deere & Co., 833 F.2d 1179, 1182 (5th Cir. 1987).
3
  Foman v. Davis, 371 U.S. 178, 182 (1962) (internal citation omitted).
4
  Id.

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     Case 4:20-cv-01107 Document 22 Filed on 07/27/20 in TXSD Page 5 of 10




        4.       Additionally, there is another case pending in state court against Defendant, Union

Pacific, including the organizational Defendants that Plaintiffs are seeking to add to this lawsuit.

The current state court case is derived from the same set of facts as the case before this Court and

involves similarly situated members of the same community that Plaintiffs’ reside. The only

substantive difference is that they chose different counsel. Ultimately, it would be a waste of

judicial resources for Plaintiffs to file a separate matter in state court with the same causes of

actions against the remaining Defendants whom Plaintiffs are seeking to add to this lawsuit.

        5.       When confronted with an amendment to add non-diverse parties, the court typically

balances the dangers inherent in parallel federal and state proceedings, which include the danger

of inconsistent results and the waste of judicial resources, with the diverse defendant’s interest in

retaining the federal forum. 5 Factors to be considered in the decision to allow or disallow the

joinder include (1) the extent to which the purpose of the amendment is to defeat federal

jurisdiction; (2) whether the plaintiff has been dilatory in asking for an amendment; (3) whether

the plaintiff will be significantly injured if the amendment is not allowed; and (4) any other factors

bearing on the equities.6 In this case, the required considerations all weigh in favor of allowing the

amendment adding the non-diverse defendants.7

    B. PLAINTIFFS’ MOTION IS MADE TO HOLD ALL PARTIES ACCOUNTABLE FOR THEIR
       ROLE IN THE HARM CAUSED AND NOT FOR THE PURPOSE OF DEFEATING FEDERAL
       JURISDICTION

        6.       An attempted joinder of non-diverse defendants immediately after removal and

before additional discovery has taken place can sometimes signal that a plaintiff’s intention was

to avoid federal jurisdiction. 8 However, several aspects of Plaintiffs’ request to amend their


5
  Hensgens v. Deere & Co., 833 F.2d 1179, 1182 (5th Cir. 1987).
6
  Hawthorne Land Co. v. Occidental Chem. Corp., 431 F.3d 221, 227 (5th Cir. 2005).
7
  Id.
8
  Mayes v. Rapoport, 198 F.3d 457, 463 (4th Cir. 1999).

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      Case 4:20-cv-01107 Document 22 Filed on 07/27/20 in TXSD Page 6 of 10




complaint and join the non-diverse defendants signify that avoiding federal jurisdiction was not

Plaintiffs’ goal. First, the fact that Plaintiffs’ and Plaintiffs’ counsel were not immediately aware

of the role that the newly added, non-diverse, Defendants’ played in causing the harm suffered by

Plaintiffs’ implies that Plaintiffs’ are not merely trying to destroy diversity.9

        7.       Second, the existence of a valid cause of action against a non-diverse defendant

also indicates a good intent and reason to properly add parties, other than avoiding federal

jurisdiction. 10 Plaintiffs’ Proposed Amended Complaint raises the claim that the non-diverse

defendants are liable to Plaintiffs under the theory of negligence, negligent misrepresentation, and

fraudulent concealment. Plaintiffs have several viable causes of action against the non-diverse

defendants. The existence of valid causes of action only helps to prove that Plaintiffs’ motivation

in seeking to amend the complaint and add new parties was not to defeat federal jurisdiction.11

        8.       Finally, Plaintiffs’ counsel was fully aware of the case bearing the same facts and

similarly situated plaintiffs that was filed against Defendant Union Pacific Railroad Company,

Pastor, Behling & Wheeler, LLC, and Environmental Resources Management Southwest, Inc. on

February 3, 2020 before filing this case. Plaintiffs’ counsel also knows that initially adding ERM

and PBW would have prevented removal. However, Plaintiffs’ counsel is not required to file a

case based on the filings of other related matters. In fact, it behooves Plaintiffs’ counsel, and is

generally good practice, to conduct proper research prior to “throwing” parties in a lawsuit that

may not involve them. If Plaintiffs’ counsel deemed the additional parties to be necessary at the

time of the February 12, 2020 filing or subsequent amended complaints in state court, they would

have been added as parties.


9
  Ibis Villas at Miami Gardens Condo Ass'n, Inc. v. Aspen Specialty Ins. Co., 799 F. Supp. 2d 1333, 1335-36 (S.D.
Fla. 2011).
10
   Tillman v. CSX Transp., Inc., 929 F.2d 1023, 1029 (5th Cir. 1991).
11
   Id..

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      Case 4:20-cv-01107 Document 22 Filed on 07/27/20 in TXSD Page 7 of 10




     C. PLAINTIFFS WERE NOT DILATORY IN SEEKING TO ADD PARTIES

         9.       Courts generally find that a plaintiff is not dilatory when joinder is sought before

trial or pre-trial dates were scheduled, and no significant activity in the case has occurred.12 In this

case, we are so early in the litigation process that no discovery has been conducted and a scheduling

order has yet to be issued. Further, Plaintiffs only recently obtained the facts necessary to

determine that ERM and PBW were proper parties. Considering the procedural history of this case

and the short amount of time that has elapsed since Plaintiffs’ initial filing, Plaintiffs cannot be

considered dilatory in seeking to amend their complaint to join non-diverse Defendants.13

     D. PLAINTIFFS WILL BE SIGNIFICANTLY INJURED IF THEIR AMENDED COMPLAINT IS NOT
        ALLOWED

         10.      As previously stated, Federal Rule of Civil Procedure 15(a)(2) provides that leave

of the Court to amend a party's pleading shall be freely given when justice so requires. 14 Unless

there is a substantial reason to deny leave to amend, the discretion of the district court is not broad

enough to permit denial.15 If Plaintiffs’ Motion is denied, Plaintiffs’ would have no option but to

initiate a separate state court action against the non-diverse Defendants. “Requiring a plaintiff to

pursue parallel federal and state court actions is generally disfavored since separate proceedings

create judicial inefficiency and increase the possibility of conflicting outcomes.”16

         11.      Denial of Plaintiffs’ Motion only further complicates this matter because Defendant

Union Pacific Railroad Company is currently battling similar claims based on the same set of facts

along with Pastor, Behling & Wheeler, LLC, and Environmental Resources Management



12
   Smith v. Robin Am., Inc., 2009 WL 2485589 (S.D. Tex. 2009).
13
   See Id.; See also Jones v. Rent-A-Ctr. E., Inc., 356 F. Supp. 2d 1273, 1276 (M.D. Ala. 2005) (finding that plaintiffs
were not dilatory because motion to amend was filed within the time allowed by the scheduling order).
14
   Lowery v. Texas A &M Univ. Sys.,117 F.3d 242 (5th Cir. 1997) (stating that Rule 15(a) creates a “strong
presumption” in favor of permitting amendment).
15
   Dussouy v. Gulf Coast Investment Corp., 660 F.2d 594, 598 (5th Cir. 1981) (citations omitted).
16
   AMX Envtl. Evolution, Ltd. v. Carroll Fulmer Logistics Corp., 2009 WL 972994 (N.D. Tex. 2009).

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         Case 4:20-cv-01107 Document 22 Filed on 07/27/20 in TXSD Page 8 of 10




Southwest, Inc in the concurrent state court case, attached as Exhibit B. As previously mentioned,

that matter is against similarly situated plaintiffs. There have already been a significant amount of

filings in that matter and, due to the existence of the state-based Defendants, it is highly unlikely

that it will be removed to federal court. In fact, it is more likely that Plaintiffs’ matter be

consolidated with the other state case should this Motion be granted. Ultimately, none of the factors

that weigh against granting this Motion are present and Plaintiffs will be highly prejudiced were

their Motion denied.

       E. EQUITY REQUIRES THAT PLAINTIFFS’ MOTION BE GRANTED

           12.      Fairness and equity dictate that all parties be heard in the same proceeding, allowing

each to present and defend its case own.

       F. GRANTING PLAINTIFFS’ MOTION LEADS TO AUTOMATIC REMAND

           13.      “If after removal the plaintiff seeks to join additional defendants whose joinder

would destroy subject matter jurisdiction, the court may deny joinder, or permit joinder and

remand the action to the State court.”17 Should this Court grant Plaintiffs’ Motion, and thus allow

the addition of the non-diverse defendants, the court loses subject matter jurisdiction and remand

is required.18

                                                 III.     CONCLUSION

           14.      The requisite analysis of the relevant facts of this case reveals that each of the

Hensgens factors weighs in favor of granting Plaintiffs’ Amended Motion for Leave to Amend the

Complaint to join non-diverse Defendants. Joinder of the non-diverse Defendants then requires the

court to remand the case to state court.




17
     28 U.S.C. § 1447(e).
18
     Borden v. Allstate Ins. Co., 589 F.3d 168, 171 (5th Cir. 2009).

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     Case 4:20-cv-01107 Document 22 Filed on 07/27/20 in TXSD Page 9 of 10




                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been
served on all counsel of record on July 27, 2020 in accordance with the Federal Rules of Civil
Procedure by filing the document with the Court’s ECF system. Electronic copies were also
emailed to all counsel.


                                                            /s/ Derrick Reed
                                                     Derrick A. Reed




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    Case 4:20-cv-01107 Document 22 Filed on 07/27/20 in TXSD Page 10 of 10




                            CERTIFICATE OF CONFERENCE

       I hereby certify that on April 21, 2020, I held a telephonic conference with counsel for
Union Pacific, Mr. Earnest Wotring, regarding the forgoing PLAINTIFFS’ MOTION FOR LEAVE
TO AMEND THE COMPLAINT TO ADD ADITIONAL PARTIES AND FOR REMAND. On that
same day, Mr. Wotring informed me that Union Pacific Railroad Company opposes Plaintiffs’ motion.



                                                           /s/ Derrick Reed
                                                    Derrick A. Reed




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